
PER CURIAM.
The defendant, Claudio Navarro, appeals from the denial of his motion for post-conviction relief. After careful review of the record, we find that the motion was neither a successive motion nor untimely filed. Accordingly, we reverse and remand for an evidentiary hearing on the issue of ineffective assistance of counsel. See Ray v. State, 480 So.2d 228, 229 (Fla. 2d DCA 1985) (movant entitled to evidentiary hearing on sworn claim of affirmative misadvice of counsel that movant would receive gain time on a mandatory minimum sentence); Eady v. State, 604 So.2d 559 (Fla. 1st DCA 1992).
Reversed and remanded.
